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                               UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION


  STATE OF MISSOURI, et al.,
                 Intervenor-Plaintiffs,

          v.

  U.S. FOOD AND DRUG ADMINISTRATION, et al.,                        Case No. 2:22-cv-00223-Z
                 Defendants,
          and
  DANCO LABORATORIES, LLC,
                 Intervenor-Defendant.


      GENBIOPRO, INC.’S JOINDER OF PENDING MOTIONS TO DISMISS AND
     MOTION TO DISMISS INTERVENOR-PLAINTIFFS’ AMENDED COMPLAINT

        Pursuant to Federal Rules of Civil Procedure 12(b), proposed Intervenor-Defendant

 GenBioPro, Inc. (“GenBioPro”) hereby moves to dismiss the Intervenor-Plaintiffs’ Amended

 Complaint, ECF No. 217.

        GenBioPro adopts, incorporates by reference, and joins in full the motions to dismiss filed

 by Defendants and Intervenor-Defendant Danco, ECF Nos. 218, 221, and the arguments and

 requests for relief made in the memoranda in support thereof, ECF Nos. 219, 222. Venue in this

 District is improper, and Intervenor-Plaintiffs’ Amended Complaint therefore should be dismissed

 or transferred to a District where venue may be proper. See Fed. R. Civ. P. 12(b)(3); 28 U.S.C.

 § 1406(a). Alternatively, Intervenor-Plaintiffs’ Amended Complaint should be dismissed because

 this Court lacks subject matter jurisdiction over Intervenor-Plaintiffs’ claims; Intervenor-Plaintiffs

 failed to exhaust mandatory administrative remedies; and Intervenor-Plaintiffs’ challenges to




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 actions allegedly taken by Defendants in or before 2016 are barred by the statute of limitations.

 See Fed. R. Civ. P. 12(b)(1), (6).




  Dated: February 25, 2025                          Respectfully submitted,

                                                    ARNOLD & PORTER KAYE SCHOLER LLP

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                                   CERTIFICATE OF SERVICE

         I certify that on February 25, 2025, I electronically filed the foregoing Motion for Leave to

 Intervene using the CM/ECF system. Notice of this filing will be sent by operation of the Court’s

 electronic filing system to all parties of record.


                                                             /s/ Christopher M. Odell
                                                             Christopher M. Odell




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